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                                  IN THE UNITED STATES DISTRICT COURT FOR THE
                                         WESTERN DISTRICT OF OKLAHOMA

        1) KENNETH TUROCZ, and                                 )
        2) TYENE TUROCZI                                       )
                                                               )
                                                               )
                                     Plaintiff(s),             )
                                                               )
          v.                                                   )        Case No. CIV-23-95-LP
                                                               )
        1) THE TRAVELERS COMPANIES,
                                                               )
        INC. a/k/a TRAVELERS,
                                                               )
                                                               )
                                     Defendant(s)              )

                                             ENTRY OF APPEARANCE

          To the Clerk of this court and all parties of record:

                    Enter my appearance as counsel in this case for:
          Defendant                 , Travelers Commercial Insurance Company                               .
          (Plaintiff/Defendant)                       (Name of Party)


               I certify that I am admitted to practice in this court and am registered to file
          documents electronically with this court.


                                            s/ Michael S. Linscott                      01/30/2023
                                            Signature                                           Date

                                             Michael S. Linscott
                                            Print Name

                                             Doerner Saunders Daniel & Anderson, LLP
Criminal Cases Only:                        Firm

       Retained or USA                       2 W. 2nd Street, Suite 700
                                            Address
       CJA Appointment
                                             Tulsa                            OK                74103
                                            City                             State              Zip Code
       Federal Public Defender
                                             918-591-5288
       Pro Bono                             Telephone

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                                            Internet E-mail Address




    REVISED 05/14/18
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                                         Certificate of Service
         ✔ I hereby certify that on January 30, 2023
        ____                                                      , I electronically transmitted the attached

document to the Clerk of Court using the Electronic Case Filing System for filing. Based on the records

currently on file in this case, the Clerk of Court will transmit a Notice of Electronic Filing to those

registered participants of the ECF System.




        _____ I hereby certify that on                            , I filed the attached document with the

Clerk of the Court and served the attached document by

on the following, who are not registered participants of the ECF System:




                                                          Michael S. Linscott
                                                       V
                                                       s/ Attorney Name
